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 5   Attorneys for Plaintiff
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 7
 8
                              UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   MARK CLARK,                               ) Case No.: 3:16-cv-00050-JAH-BGS
                                               )
12                 Plaintiff,                  ) Joint Motion to Dismiss Defendant Trans
13                                             ) Union, LLC Only
     v.                                        )
14
                                               )
15   EXPERIAN INFORMATION                      )
16
     SOLUTIONS, INC.; et al.,                  )
                                               )
17                 Defendants.                 )
18                                             )
19
           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Local Rule 7.2,
20
     Plaintiff MARK CLARK and Defendant TRANS UNION LLC jointly move the Court to
21
     dismiss the entire action and all causes of action with prejudice as to Defendant TRANS
22
     UNION LLC only. This Joint Motion does not apply to any other named Defendant in this
23
     action.
24
25
           Date: October 21, 2016             /s/ Octavio Cardona-Loya II              .
26                                            Octavio Cardona-Loya II,
27                                            Attorney for Plaintiff Mark Clark
                                              Email: Vito@GoldenCardona.com
28



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                            Joint Motion to Dismiss Defendant Trans Union, LLC Only
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 1
           Date: October 21, 2016             /s/Paul W. Sheldon                      .
 2                                            Paul W. Sheldon,
 3                                            Attorney for Trans Union, LLC
                                              Email: Paul.Sheldon@Strasburger.com
 4
 5
                                  SIGNATURE CERTIFICATION
 6
           Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies and
 7
     Procedures Manual, I hereby certify that the content of this document is acceptable to Paul
 8
     W. Sheldon, counsel for Defendant Trans Union, LLC and that I have obtained Mr.
 9
     Sheldon’s authorization to affix his electronic signature to this document.
10
11
12
           Date: October 21, 2016             /s/ Octavio Cardona-Loya II                 .
                                              Octavio Cardona-Loya II,
13                                            Attorney for Plaintiff Mark Clark
14                                            Email: Vito@GoldenCardona.com
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